
PER CURIAM.
This court, proceeding in the manner outlined and recommended by the Supreme Court of the United States in Anders v. California, 386 U.S. 738, 744, 87 S.Ct. 1396, 18 L.Ed.2d 493, having deferred ruling on a motion of the public' defender to withdraw as counsel for the indigent-defendant and having furnished appellant with a copy of the public defender’s memorandum brief, and having allowed the appellant a reasonable specified time within which to raise any points that he chose in support of his appeal, and the appellant having failed to respond thereto, on consideration thereof upon examination of the record, which amply demonstrates sufficient competent evidence to sustain the conviction, we conclude that the appeal is wholly frivolous. Whereupon, the public defender’s said motion to withdraw- is granted and the order or judgment is hereby affirmed.
